                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                   IN THE UNITED STATES DISTRICT COURT                  November 15, 2017
                    FOR THE SOUTHERN DISTRICT OF TEXAS                  David J. Bradley, Clerk
                             HOUSTON DIVISION

ROBIN CUSTER,                            §
                                         §
      Plaintiff,                         §
                                         §
v.                                       §       CIVIL ACTION NO. H-17-1338
                                         §
HOUSTON POLICE DEPARTMENT and            §
CITY OF HOUSTON,                         §
                                         §
      Defendants.                        §

                            MEMORANDUM OPINION

      Pending   before   the    court1   is    Defendants   City   of    Houston

(“Defendant     City”)   and    Houston       Police   Department’s      (“HPD”)

(collectively, Defendants”) Motion to Dismiss (Doc. 2).               The court

has considered the motion, all other relevant filings, and the

applicable law.     For the reasons set forth below, the court GRANTS

IN PART and DENIES IN PART Defendants’ motion.

                           I.    Case Background

      Plaintiff filed this action alleging violations of 42 U.S.C.

§ (“Section”) 1983, the Texas Tort Claims Act, and state law claims

of negligence and gross negligence.2            On May 1, 2017, Defendants

removed this case from the 269th District Court of Harris County,

Texas.3   Defendants filed the pending motion to dismiss on May 8,


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            The parties consented to proceed before the undersigned magistrate
judge for all proceedings, including trial and final judgment, pursuant to 28
U.S.C. § 636(c) and Federal Rule of Civil Procedure 73. See Doc. 7, Ord. Dated
May 31, 2017.
      2
            See Doc. 1-4, Ex. D to Defs.’ Not. of Removal, Pl.’s Orig. Pet.
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            See Doc. 1, Defs.’ Not. of Removal.
2017.4 and Plaintiff has not filed a response.                      The following

factual account is derived from Plaintiff’s live complaint.

      On March 5, 2015, two HPD officers drove into Plaintiff’s

driveway     while     Plaintiff    and    her   husband    Ricky   Custer   (“Mr.

Custer”) were not home.5           The officers walked around the exterior

of Plaintiff’s home and disabled the home’s security cameras.6                 One

of the officers used his flashlight to break open the front door,

and the officers entered Plaintiff’s home.7                After they exited the

home, leaving the front door open, the officers took the mail out

of   Plaintiff’s       mailbox.8     The   officers   then     re-entered    their

vehicle and parked it down the street from Plaintiff’s house.9

      Mr. Custer came home to find his house had been entered and

the security cameras disabled.10 After Mr. Custer called Plaintiff,

she came home from work and reviewed the footage on their security

cameras.11    Plaintiff’s neighbor also had footage of the incident




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             See Doc. 2, Defs.’ Mot. to Dismiss.
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             See Doc. 1-4, Ex. D to Defs.’ Not. of Removal, Pl.’s Orig. Pet. p.
3.
      6
             See id.
      7
             See id.
      8
             See id.
      9
             See id.
      10
             See id. p. 2.
      11
             See id.

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captured on his camera.12

                            II.    Legal Standard

     Pursuant to Federal Rule of Civil Procedure (“Rule”) 12(b)(6),

dismissal of an action is appropriate whenever the complaint, on

its face, fails to state a claim upon which relief can be granted.

When considering a motion to dismiss, the court should construe the

allegations in the complaint favorably to the pleader and accept as

true all well-pleaded facts.          Sullivan v. Leor Energy, LLC, 600

F.3d 542, 546 (5th Cir. 2010).

     A complaint need not contain “detailed factual allegations”

but must include sufficient facts to indicate the plausibility of

the claims asserted, raising the “right to relief above the

speculative level.”       Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

Plausibility means that the factual content “allows the court to

draw the reasonable inference that the defendant is liable for the

misconduct alleged.”       Iqbal, 556 U.S. at 678.         A plaintiff must

provide   “more    than   labels     and    conclusions”   or   “a   formulaic

recitation of the elements of a cause of action.”               Twombly, 550

U.S. at 555.      In other words, the factual allegations must allow

for an inference of “more than a sheer possibility that a defendant

has acted unlawfully.”       Iqbal, 556 U.S. at 678.

                                  III. Analysis


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           See id.

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        Defendants contend that HPD is an improper party to this suit,

and that the claims under the TTCA and Section 1983 against the

City should be dismissed.              Additionally, the City argues that

exemplary damages are not available for these claims.

A.   Houston Police Department

        Plaintiff has sued both the HPD and the City; Defendants

contend that HPD was improperly sued as it has no legal existence

separate from the City.

        Rule 17(b) mandates that an entity’s ability to be sued “is

determined . . . by the law of the state in which the district

court is held.”         Fed. R. Civ. P. 17(b); Darby v. Pasadena Police

Dep’t, 939 F.2d 311, 313 (5th Cir. 1991).             Houston is a home-rule

city.        See, e.g., Houston Ass’n of Alcoholic Beverage Permit

Holders v. City of Houston, 508 F. Supp.2d 576, 583 (S.D. Tex.

2007).         The     Texas   Local    Government    Code   gives    home-rule

municipalities the power to create a police department. Tex. Local

Gov. Code § 341.003; Darby, 939 F.2d at 313.            The City of Houston’s

charter gives the City the power to “sue and be sued,” but does not

give the HPD the power to be sued.              See Houston, Tex., Charter,

Art. II, § 1 (1905).

        “In order for a plaintiff to sue a city department it must

enjoy    a    separate    legal   existence.”       Darby,   939   F.2d   at   313

(citations       and     internal      quotations    omitted).        Political

subdivisions must be “separate and distinct corporate entit[ies]”


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in order to sue or be sued.       Id.       Therefore, the Fifth Circuit has

said that “our cases uniformly show that unless the true political

entity has taken explicit steps to grant the servient agency with

jural authority, the agency cannot engage in any litigation except

in concert with the government itself.”            Id. (citations omitted).

      Because HPD is not a separate legal entity from the City, and

does not have the power to sue or be sued, HPD is dismissed from

this action.

B.   Texas Tort Claims Act

      As a municipality, the City is entitled to the protection of

governmental immunity.          Mission Consol. Indep. Sch. Dist. v.

Garcia,   253   S.W.3d   653,    655    n.2     (Tex.   2008)   (stating   that

municipalities are protected by governmental immunity); see also

Tex. Civ. Prac. & Rem. Code § 101.001(3)(B).              Texas governmental

units enjoy immunity from claims unless Texas has consented to

allowing suit.     Tex. Dep’t of Parks & Wildlife v. Miranda, 133

S.W.3d 217, 224 (Tex. 2004).

      Texas waives immunity for a limited number of situations as

described in the TTCA.     Garcia, 253 S.W.3d at 655; see also Tex.

Civ. Prac. & Rem. Code §§ 101.021-101.025.               Generally, the TTCA

waives immunity for property damage, personal injury, and death

caused by wrongful acts of employees if arising from the use of a

motor-driven vehicle or from a condition or use of tangible

personal or real property.         See Tex. Civ. Prac. & Rem. Code §


                                        5
101.021.

      In her complaint, Plaintiff makes claims under the TTCA and

separately makes claims for negligence and gross negligence.

“Because the Tort Claims Act is the only, albeit limited, avenue

for common-law recovery against the government, all tort theories

alleged against a governmental unit, whether it is sued alone or

together with its employees, are assumed to be ‘under [the Tort

Claims Act].’”       Garcia, 253 S.W.3d at 659; see also Franka v.

Velasquez, 332 S.W.3d 367, 390 (Tex. 2011)(“the Tort Claims act is

the only means to sue the government for a tort.”).                 Therefore,

Plaintiff’s claims for negligence and gross negligence must be

considered brought under the TTCA because Plaintiff made these

claims against a governmental unit.

      The court agrees with Defendants that Plaintiff does not

allege personal injury in this case,13 but alleges that she suffered

property damage as the officers disabled her cameras and forced her

front door open with their flashlight.          However, “[t]he Texas Tort

Claims Act distinctly reflects that recovery for property damage

alone may arise in only one instance–when damages are proximately

caused by the operation or use of motor-driven vehicles or motor-



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            The court also takes note of the error pointed out by Defendants in
Plaintiff’s complaint. See Doc. 2, Defs.’ Mot. to Dismiss p. 4. In Plaintiff’s
complaint, there is a sentence stating “[t]he shooting death of John was a direct
and proximate result of the negligence of these two HPD officers.” Doc. 1-4, Ex.
D to Defs.’ Not. of Removal, Pl.’s Orig. Pet. p. 11. The court agrees that this
sentence appears to be an error as there are no factual allegations about anyone
named John or any shooting by HPD officers.

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driven equipment.”      City of San Antonio v. Winkenhower, 875 S.W.2d

388, 390 (Tex. App.–San Antonio 1994, writ denied).               There is no

allegation that a motor vehicle or motor-driven equipment caused

damage to Plaintiff’s property; any negligence claims Plaintiff

brings against the City must be dismissed.

      Additionally, to the extent that Plaintiff attempts to bring

any claims for intentional torts, these claims must also be

dismissed.       Claims   “arising    out    of   assault,   battery,    false

imprisonment, or any other intentional tort” are excepted from the

general waiver under the TTCA.             Tex. Civ. Prac. & Rem. Code §

101.057.

C.   Section 1983

      A plaintiff can establish a prima-facie case under Section

198314 for the deprivation of civil rights by establishing: (1) a

violation of a federal constitutional or statutory right; and (2)

that the violation was committed by an individual acting under the

color of state law.       Doe v. Rains Cty. Indep. Sch. Dist., 66 F.3d

1402, 1406 (5th Cir. 1995).          The statute creates no substantive

rights but only provides remedies for deprivations of rights

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             The provision reads, in relevant part:

      Every person who, under color of any statute, ordinance, regulation,
      custom, or usage, of any State . . ., subjects or causes to be subjected,
      any citizen of the United States or other person within the jurisdiction
      thereof to the deprivation of any rights, privileges, or immunities
      secured by the Constitution and laws, shall be liable to the party injured
      in an action at law, suit in equity, or other proper proceeding for
      redress . . . .

42 U.S.C. § 1983.

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created under federal law.   Graham v. Connor, 490 U.S. 386, 393-94

(1989).

     1.   Respondeat Superior

     A city may be held liable under Section 1983 only for its own

illegal acts, not pursuant to a theory of vicarious liability.

Connick v. Thompson, 563 U.S. 51, 60 (2011). The Supreme Court has

also recognized that the rejection of respondeat superior means

that “a municipality cannot be held liable solely because it

employs a tortfeasor,” but only for its own wrongs.      Monell v.

Dep’t of Social Servs., 436 U.S. 658, 691 (1978)(emphasis in

original).

     In her complaint, Plaintiff alleges that the City is liable

for constitutional torts committed by the officers.   However, the

City may only be held liable for its own customs or policies, not

under a theory of respondeat superior.    Therefore, to the extent

that Plaintiff attempts to hold the City vicariously liable for the

acts of its officers under Section 1983, those claims must be

dismissed.

     2.   Policy or Custom

     To succeed on a claim under Section 1983, the plaintiff must

demonstrate that the City “had some inadequate custom or policy

that acted as the moving force behind a constitutional violation.”

Forgan v. Howard Cty., Tex., 494 F.3d 518, 522 (5th Cir. 2007)

(citing Monell, 436 U.S. at 690-91); see also Connick, 563 U.S. at


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60-61.   “Official municipal policy includes the decisions of a

government’s lawmakers, the acts of its policymaking officials, and

practices so persistent and widespread as to practically have the

force of law.”    Connick, 563 U.S. at 61.

     This court has found that at the motion to dismiss stage, a

plaintiff “need not specifically state what the policy is . . . but

may be more general.”    Thomas v. City of Galveston, Texas, 800 F.

Supp. 2d 826, 843 (S.D. Tex. 2011).          A plaintiff must still

“provide fair notice to the defendant, and this requires more than

generically restating the elements of municipal liability.”       Id.

Such allegations could include “past incidents of misconduct to

others, multiple harms that occurred to the plaintiff, misconduct

that occurred in the open, the involvement of multiple officials in

the misconduct, or the specific topic of the challenged policy or

training inadequacy.”    Id. (citing cases).

     Courts have recognized that, under limited circumstances, the

failure to train or to supervise its employees may give rise to

local-government liability under Section 1983.     See id.; Zarnow v.

City of Wichita Falls, Texas, 614 F.3d 161, 169, 170 (5th Cir.

2010).   In failure-to-train cases, a plaintiff must prove the

inadequacy   of   the   procedures,   the   policymaker’s   deliberate

indifference, and causation. Zarnow, 614 F.3d at 170.

     A local government can be held liable only when its failure to

train or to supervise amounted to deliberate indifference to the


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constitutional rights of its citizens.              Connick, 563 U.S. at 61

(quoting City of Canton, Ohio v. Harris, 489 U.S. 378, 388 (1989)).

In order to show deliberate indifference by the municipality, a

plaintiff must generally show a pattern of similar constitutional

violations by untrained employees. Connick, 563 U.S. at 62. Where

the question is not whether the officers received any training in

the constitutional requirements, but whether the officers received

adequate     training,    the   plaintiff     cannot    rely   on   proof   that

additional training would have created a better officer or would

have reduced the likelihood of a constitutional violation but must

prove that the “officers were so untrained as to be unaware” of

constitutional limitations.          Pineda v. City of Houston, 291 F.3d

325, 333 (5th Cir. 2002); see also Harris, 489 U.S. at 391.                   The

Supreme Court has cautioned, “[a] municipality’s culpability for a

deprivation of rights is at its most tenuous where a claim turns on

a failure to train.”        Connick, 563 U.S. at 61.

        Plaintiff alleges that the City is liable “for failing to

supervise and train its police officers, and for overlooking and

covering up officer misconduct . . . [the City] had a general

policy, pattern and/or practice of not disciplining police officers

for their conduct . . . which amounted to a departmental policy of

overlooking constitutional violations.”15            Additionally, Plaintiff



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             Doc. 1-4, Doc. 1-4, Ex. D to Defs.’ Not. of Removal, Pl.’s Orig. Pet.
p. 8.

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alleges that the City failed to train and supervise officers “on

the Fourth Amendment requirements that officers entering a person’s

home to conduct a search have a warrant based on probable cause,

that warrantless searches inside a home are per se unreasonable

and,     therefore,      unconstitutional,   and   what    and    when   the   few

specifically established exceptions to this general rule exist ..

. [the City] fail[ed] to adequately train its HPD officers . . .

regarding the availability of alternative means of investigation

other        than   illegal,   warrantless   searches     and    destruction   of

property.”16

        The court finds that Plaintiff’s allegation that the City had

a policy of overlooking constitutional violations fails to put the

City on notice of the alleged training deficiency and how the City

had been placed on notice of the training deficiency such that it

amounted to deliberate indifference. However, the court finds that

Plaintiff’s allegation that the City failed to train its officers

on the Fourth Amendment’s warrant requirement is specific and is

factually related to the allegations in this case.

        3.     Exemplary Damages

        The City argues it is immune from punitive damages under

Section 1983.          The court agrees.      In City of Newport v. Fact

Concerts, Inc., 453 U.S. 247, 271 (1981), the Supreme Court held

that “a municipality is immune from punitive damages under 42


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                Id. at 9-10.

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U.S.C. § 1983.” Therefore, Plaintiff may not seek punitive damages

against the City for its Section 1983 claim.

                         IV.   Conclusion

     Based on the foregoing, Defendants’ motion to dismiss is

GRANTED IN PART and DENIED IN PART.    HPD is DISMISSED from this

action. Plaintiff’s claims against the City under the TTCA and for

negligence and gross negligence are DISMISSED. Plaintiff’s Section

1983 claim for failure to train based on the alleged City policy of

overlooking constitutional violations is DISMISSED for failure to

state a claim upon which relief can be granted. The only remaining

claim is Plaintiff’s failure to train claim based on the City’s

failure to train on the Fourth Amendment’s warrant requirement.

     SIGNED in Houston, Texas, this 15th day of November, 2017.




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                                           U.S. MAGISTRATE JUDGE




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